Case 1-17-40104-cec   Doc 149-1   Filed 04/16/18   Entered 04/16/18 20:44:47




                           EXHIBIT A
Case 1-17-40104-cec   Doc 149-1   Filed 04/16/18   Entered 04/16/18 20:44:47
Case 1-17-40104-cec   Doc 149-1   Filed 04/16/18   Entered 04/16/18 20:44:47
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